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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ZYRCUITS IP LLC,

                       Plaintiff,                     Civil Action No.: 1:21-cv-00593-CFC

       v.

 WAXMAN INDUSTRIES, INC.,                             TRIAL BY JURY DEMANDED

                       Defendant.


                       STIPULATION AND PROPOSED ORDER
                   TO EXTEND TIME TO ANSWER THE COMPLAINT

       IT IS HEREBY STIPULATED by the undersigned counsel for Plaintiff, Zyrcuits IP LLC,

subject to the approval of the Court, that Defendant’s time to answer, move, or otherwise respond

to the complaint in this action shall be extended an additional sixty (60) days, up to and including

July 20, 2021.

       The requested extension will not prejudice any party.

 Dated: May 14, 2021                                  Respectfully submitted,

                                                      CHONG LAW FIRM PA

                                                      /s/ Jimmy Chong
                                                      Jimmy Chong (#4839)
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                                                      ATTORNEY FOR PLAINTIFF

SO ORDERED this _______ day of May, 2021.


                                              ___________________________________
                                              UNITED STATES DISTRICT JUDGE
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                                CERTIFICATE OF SERVICE

       I, Jimmy Chong, certify that on May 14, 2021 this document was electronically filed with

the Clerk of the Court using the CM/ECF system and will be sent electronically to the registered

participants as identified on the Notice of Electronic Filing (NEF).

                                                                       /s/ Jimmy Chong     ______
                                                                        Jimmy Chong (#4839)
